19 F.3d 1430
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Melvin Eugene ROBINSON, Plaintiff Appellant,v.CORRECTIONAL OFFICER GIBSON, Defendant Appellee.
    No. 94-6060.
    United States Court of Appeals, Fourth Circuit.
    Submitted:  March 15, 1994.Decided:  March 23, 1994.
    
      Appeal from the United States District Court for the Eastern District of North Carolina, at Raleigh;  Terrance W. Boyle, District Judge.  (CA-94-745-CRT-BO)
      Melvin Eugene Robinson, appellant pro se.
      E.D.N.C.
      DISMISSED.
      Before MURNAGHAN, HAMILTON and WILLIAMS, Circuit Judges.
      PER CURIAM:
    
    
      1
      Appellant appeals from the district court's order denying relief on his 42 U.S.C. Sec. 1983 (1988) complaint.  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we deny leave to proceed in forma pauperis and dismiss the appeal on the reasoning of the district court.  Robinson v. Gibson, No. CA-93-745-CRT-BO (E.D.N.C. Dec. 20, 1993).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      DISMISSED.
    
    